Case 9:18-cv-81689-RLR Document 246 Entered on FLSD Docket 08/04/2020 Page 1 of 2



                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA

                              CASE NO. 18-81689-CIV-Rosenberg/Reinhart


  CITYPLACE RETAIL, LLC,

                 Plaintiff,

         v.

  WELLS FARGO BANK, N.A.,

                 Defendant.

  ___________________________________/

                                   NOTICE OF DISCLOSURE

         In reviewing the Defendant’s Motions for Attorney’s Fees and Bill of Costs (ECF Nos.

  234, 241) on August 4, 2020, the undersigned learned for the first time that Mr. Havales became

  a partner at McDermott Will & Emery, LLP (“McDermott”) in February 2020. ECF Nos. 241-5,

  ¶ 6; 241-6, ¶ 1. On July 24, 2020, a party represented by McDermott filed a motion to compel

  compliance with a non-party subpoena against the undersigned’s former (now inactive) law firm,

  Bruce E. Reinhart, P.A. (the “P.A.”) in Southern District of Florida case number 19-cv-61261-

  JEM. See Docket Entry 48 in case no. 19-cv-61261. The subpoena arose from a matter pending

  in the District of New Jersey under case number 18-cv-5221-ES-SCM. A former client of the

  undersigned’s is a party to the New Jersey litigation. McDermott’s client subpoenaed the P.A.

  for records relating to the representation of the former client. The P.A. objected to the subpoena

  solely based on its ethical duty not to disclose information relating to the representation of a

  client without the client’s informed consent. One exception to that prohibition is an order by a

  court. By consent of the parties, on July 27, the subpoena enforcement matter was transferred
Case 9:18-cv-81689-RLR Document 246 Entered on FLSD Docket 08/04/2020 Page 2 of 2



  to the District of New Jersey, where it remains pending.

         Also, a partner from McDermott’s Miami office deposed the undersigned in the New Jersey

  matter on July 16.

         The undersigned believes that he can fairly and impartially adjudicate the motions currently

  referred to him for Report and Recommendation. If any party believes that recusal is required,

  they should file an appropriate motion on or before 5:00 p.m. on August 18, 2020.


         DONE AND ORDERED on August 4, 2020, at West Palm Beach, Florida..




                                               ______________________________
                                               BRUCE E. REINHART
                                               UNITED STATES MAGISTRATE JUDGE
